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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

BANCO SAN JUAN INTERNACIONAL, INC.,

                          Plaintiff,
                                                   23-cv-6414 (JGK)
                - against -
                                                   ORDER
THE FEDERAL RESERVE BANK OF NEW
YORK, ET AL. ,

                          Defendants.

JOHN G. KOELTL, District Judge:

     The Court will hear the parties by telephone on the

plaintiff's proposed order to show cause with emergency relief

(ECF No.   6)    tomorrow, Wednesday, July 26, 2023, at 5 p.m.

     Dial-in: 888-363-4749, with access code 8140049.

     The plaintiff should see that unredacted copies of all

papers filed in this action are provided to the defendants, and

the plaintiff should provide prompt notice to the defendants of

tomorrow's proceeding.

SO ORDERED.

Dated:      New York, New York
            July 25, 2023

                                                John G. Koeltl
                                         United States District Judge
